                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


STUDENTS FOR FAIR                             )
ADMISSIONS, INC.,                             )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )       1:14CV954
                                              )
THE UNIVERSITY OF NORTH                       )
CAROLINA AT CHAPEL HILL, et al,               )
                                              )
                       Defendants.            )

                                             ORDER

       This matter is before the Court on a motion pursuant to Local Rule 7.5 by Center for

Constitutional Jurisprudence for leave to file a brief as amici curiae in support of Plaintiff’s

Motion for Summary Judgment. (ECF No. 181.)

       IT IS ORDERED that the motion is DENIED.

       This, the 4th day of April 2019.


                                              /s/ Loretta C. Biggs
                                              United States District Judge




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